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11
                             UNITED STATES DISTRICT COURT
12
                           NORTHERN DISTRICT OF CALIFORNIA
13
                                     OAKLAND DIVISION
14
     MATTHEW EDWARDS, et al., individually and     Case No. 11-CV-04766-JSW
15   on behalf of all others similarly situated,
                                                   [consolidated with 11-CV-04791-JSW
16                                  Plaintiffs,    and 11-CV-05253-JSW]
17        v.                                       CLASS ACTION
18                                                 DECLARATION OF CHRIS
     NATIONAL MILK PRODUCERS                       WHIPPS RE DISTRIBUTION AND
19   FEDERATION, aka COOPERATIVES                  REPORT ON PHASE I RESULTS
     WORKING TOGETHER; DAIRY FARMERS
20   OF AMERICA, INC.; LAND O’LAKES, INC.;
     DAIRYLEA COOPERATIVE INC.; and AGRI-
21   MARK, INC.,
22                                 Defendants.
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 1           I, Chris Whipps, declare as follows:

 2           1.      I am employed as CEO of Sipree, Inc., d/b/a DigitalPay, which serves as one of the

 3   Court-appointed Administrators of the Settlement with Defendants, National Milk Producers

 4   Federation, on behalf of itself and Cooperatives Working Together, Land O’Lakes, Inc., Dairy

 5   Farmers of America, Inc., Dairylea Cooperative, Inc., and Agri-Mark, Inc. As the CEO of

 6   DigitalPay, I oversee the administrative and executive services provided in this matter. I make this

 7   declaration to further outline those administrative services. I have personal knowledge of the facts

 8   set forth herein and, if called as a witness, could and would testify competently thereto.

 9           2.      As stated in my July 19, 2021, declaration, the total number of deliverable claims

10   from www.boughtmilk.com, email to info@boughtmilk.com, and via U.S. Mail were 3,542,640 of

11   which 3,499,756 were individual claims and 42,884 were organizational claims. Following the

12   Court’s order of July 20, 2021, DigitalPay commenced distribution as approved by the Court.

13           3.      From August 27, 2021, to September 14, 2021, DigitalPay sent “Warm Up” emails to

14   notify claimants of their upcoming payment. A sample is attached as Exhibit A. 86,457 emails were

15   “hard bounced” back to DigitalPay during the transmission of the Warm Up email, which reduced

16   the final number of deliverable payments. Hard bounces are controlled by third party Internet

17   Service Providers or Email Service Providers and result from the following circumstances:

18                           Invalid account (cannot be found);
19                           Account no longer in use;
20
                             Account flagged for fraud;
21
                             “Temporary” accounts—email accounts opened
22                            for one transaction and never used again;

23                           User unsubscribes / opts out; or
24                           Other—no reason provided.
25
             4.      From September 20, 2021, to October 14, 2021, DigitalPay sent 3,452,571 Payment
26
     Notifications. A sample is attached as Exhibit B. On September 27, 2021, KCC mailed 1,522 paper
27
     checks to claimants who had requested that form of distribution.
28
      DIGITALPAY DECLARATION RE DISTRIBUTION
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 1          5.        The original time to accept payment expired on October 28, 2021. In similar cases

 2   handled by DigitalPay with similar payment amounts and messaging, the payment acceptance rate,

 3   or “take rate,” has been 82-87%. Surprisingly, the take rate here, as of October 28, 2021, was only

 4   32%.

 5          6.        We believe this is due to the many years this case spent on appeal prior to the Ninth

 6   Circuit affirming and rejecting the settlement objector. The multi-year delay led to many claimants

 7   forgetting they had made claims, despite the language of the Warm Up and Payment Notification

 8   emails reminding them. See Exhibits A & B.

 9          7.        In light of the low take rate, we propose to extend the expiration date for all payments

10   to December 6, 2021, to allow additional time for claimants to act on their payment notifications.

11   However, we do not anticipate this extension will increase the take rate more than a few percentage

12   points. And as of November 4, 2021, $11,416,898.88 has been claimed and $23,899,121.39 remains

13   for distribution to class members:

14

15

16
                  Date                        Account Activity                        Amount
17                              Settlement Amount                                    $52,000,000.00
18           10/3/16            Dividend                                                     $568.31
19           10/11/16           Payment to Class Administrator/DigitalPay              ($310,000.00)
             11/1/16            Dividend                                                   $2,184.44
20
             11/28/16           Payment to Class Administrator/KCC                     ($399,374.70)
21
             12/1/16            Dividend                                                   $2,742.03
22
             12/22/16           Payment to Class Administrator/DigitalPay               ($50,000.00)
23           1/3/17             Dividend                                                   $4,343.39
24           2/2/17             Dividend                                                   $5,054.82
25           3/3/17             Dividend                                                   $7,864.19
             4/3/17             Dividend                                                  $13,553.11
26
             5/4/17             Dividend                                                  $16,576.81
27
             6/1/17             Dividend                                                  $19,603.35
28
     DIGITALPAY DECLARATION RE DISTRIBUTION
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             6/30/17          Payment to Class Administrator/DigitalPay     ($240,000.00)
 1
             7/3/17           Dividend                                         $18,975.62
 2
             7/6/17           Attorney Fees, Costs, and Service Awards    ($15,486,886.21)
 3           7/7/17           Payment to Class Administrator/KCC              ($54,220.88)
 4           8/2/17           Dividend                                          14,548.18
 5           9/1/17           Dividend                                          13,592.67
 6           10/3/17          Dividend                                          13,159.40
             11/2/17          Dividend                                          13,602.59
 7
             12/1/17          Dividend                                          13,169.13
 8
             1/3/18           Dividend                                          13,613.32
 9           2/1/18           Dividend                                          13,618.18
10           3/1/18           Dividend                                          12,305.13
11           4/2/18           Dividend                                          13,628.27
             5/2/18           Dividend                                          13,193.85
12
             6/1/18           Dividend                                          13,638.51
13
             7/2/18           Dividend                                          13,203.26
14           8/1/18           Dividend                                          13,648.77
15           9/4/18           Dividend                                          13,654.15
16           10/1/18          Dividend                                          13,218.74

17           11/1/18          Dividend                                          13,664.42
             12/3/18          Dividend                                          13,228.68
18
             1/2/19           Dividend                                          13,674.69
19
             1/28/19          Payment to Class Administrator/DigitalPay       (200,000.00)
20           2/1/19           Dividend                                          13,669.90
21           3/1/19           Dividend                                          12,291.74

22           4/1/19           Dividend                                          13,613.41
             5/1/19           Dividend                                          13,179.13
23
             6/3/19           Dividend                                          13,623.65
24
             6/18/19          Payment to Class Administrator/DigitalPay         (5,400.00)
25           7/1/19           Dividend                                          13,188.34
26           8/1/19           Dividend                                          13,631.83
27           9/3/19           Dividend                                          13,637.04
             10/1/19          Dividend                                          13,202.21
28
     DIGITALPAY DECLARATION RE DISTRIBUTION
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             11/1/19          Dividend                                            13,647.30
 1
             12/2/19          Dividend                                            13,212.11
 2
             1/2/20           Dividend                                            13,657.41
 3           2/3/20           Dividend                                            13,625.25
 4           3/2/20           Dividend                                            12,751.07
 5           4/1/20           Dividend                                             8,503.71

 6           5/1/20           Dividend                                             2,698.42
             6/2/20           Dividend                                             2,727.94
 7
             6/30/20          Payment to Class Administrator/KCC                (15,249.67)
 8
             7/1/20           Dividend                                             2,640.12
 9           8/3/20           Dividend                                             2,727.20
10           9/1/20           Dividend                                             2,727.40

11           10/1/20          Dividend                                             2,639.62
             11/2/20          Dividend                                              694.17
12
             12/1/20          Dividend                                              293.32
13
             1/4/21           Dividend                                              303.10
14           2/1/21           Dividend                                              303.93
15           3/1/21           Dividend                                              274.52
16           4/1/21           Dividend                                              303.94

17           5/3/21           Dividend                                              294.13
             6/1/21           Dividend                                              303.97
18
             7/1/21           Dividend                                              294.14
19
             9/9/21           Fee award to Holyoak                             ($70,000.00)
20           9/9/21           Fee award to O’Brian                             ($29,911.40)
21           9/9/21           Cost award to O’Brian                             ($1,432.03)

22           9/9/21           Service award to O’Brian                               ($250)
             TBD              Final payment to Class                          ($200,000.00)
23                            Administrator/DigitalPay
24           TBD              Final payment to Class Administrator/KCC        ($169,742.87)
                              Funds available for distribution in Phase I    $35,316,020.27
25
             9/20/21 to       Payments claimed by class members in           $11,416,898.88
26           10/14/21         response to Payment Notifications
                              Funds available for distribution in Phase II   $23,899,121.39
27

28
     DIGITALPAY DECLARATION RE DISTRIBUTION
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 1          8.      Due to the unanticipated low take rate, we propose the following changes to the

 2   distribution plan (in addition to extending the life of all payments until December 6, 2021, as

 3   discussed above):

 4                          Starting November 15, 2021, we will start sending claimants a
                             Final Reminder notice that their payment is ready and waiting for
 5
                             them. This notice will include confirmation of the new expiration
 6                           date on their payment.

 7                          In addition, the Final Reminder notice, see sample attached as
                             Exhibit C, will inform claimants that instead of a Phase II push
 8                           distribution that automatically selects payment method for those
                             who did not act on their payment notification (as originally
 9
                             planned), the remaining settlement funds will be distributed pro
10                           rata only to those who responded in the first round.1

11          9.      The pro rata push only to those responding in Phase I will ensure that payments are

12   going to claimants who have already acted on payment notices (i.e., they have accepted payment)

13   presented in the initial notification process—and it avoids pushing payments on those unlikely to act

14   on them. And the Final Reminder notice will ensure that all claimants who have not yet accepted

15   payment will have notice that they have a last opportunity to do so. The Phase II pro rata push

16   amount is currently estimated to be $21.68 for all claimants who have acted on the first round.

17          10.     DigitalPay is prepared to move forward on the following distribution schedule:

18

19                   Event                                                Date for Completion

20    Reissue digital payments on November 15, 2021,
      and allow final opportunity for all claimants to                      December 6, 2021
21    select payment method in Phase I.
22

23

24

25
        1
           See, e.g., Order Revising Distribution Protocol, In re Electronic Books Antitrust Litig., No. 11-
26   md-02293 (DLC), ECF No. 697, at ¶ 2 (S.D.N.Y. Sept. 07, 2017) (ordering that “any further
     distribution of consumer settlement funds shall be made only to those eligible consumers who used
27   their electronic account credits or cashed the checks mailed to them in the prior round of
     distribution”), attached as Exhibit D.
28
     DIGITALPAY DECLARATION RE DISTRIBUTION
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 1    Phase II: Pro-Rata Push Distribution

 2    Claims administrator DigitalPay securely delivers a
      digital debit card “Push Distribution” on a pro-rata
 3    basis only to payees who acted on the payment they
      were issued in Phase I. This avoids pushing
 4    payments on those unlikely to act on them. This
      card is the named property of the payee and delivers
 5    live funds. No bank account is required to use this                  January 5, 2022
 6    card. This final phase delivers funds to all entitled
      claimants and takes the settlement balance to
 7    approximately $0 (except for outstanding physical
      checks issued by KCC).
 8
      Claims administrator KCC to reissue checks with
 9    30-day expiration to those who did not cash 60 days
      from first issuance.
10
      Final Reporting                                                    February 24, 2022
11
      Claims administrator DigitalPay to provide final
12    report regarding the disbursement of the settlement
      funds.
13
      Claims administrator KCC to identify and report
14    checks that have not been cashed 30 days from re-
      issuance.
15
      Any remaining funds will be distributed to the
16
      Attorneys General for the Class jurisdictions for use
17    in prosecuting consumer antitrust claims.

18

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct. Executed this 9th day of November 2021, in San Francisco, California.

21

22

23

24

25                                                                  CHRIS WHIPPS
26

27

28
     DIGITALPAY DECLARATION RE DISTRIBUTION
     CASE NO.: 11-CV-04766-JSW
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                     EXHIBIT B
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                    EXHIBIT D
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